JS 44 (Rev. 10/20)                   Case 2:22-cv-02045-CFK
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                                                            COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
                                                                                                           CBS BROADCASTING, INC. d/b/a CBS-3
          LIA ROSALSKY                                                                                     CBS PHILLY
    (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant              New York
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Weir Greenblatt Pierce LLP; 1339 Chestnut Street, Suite
          500, Philadelphia, PA 19107; (215) 665-8181
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖ 442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                  Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         FLSA of 1938, as amended 29 U.S.C. §§ 201, et seq.
VI. CAUSE OF ACTION                      Brief description of cause: Plaintiff asserts that she was discriminatorily paid less for performing work in the same establishment
                                         requiring substantially equal skill, effort and responsibility based on her sex and was retaliated against when she reported such discrimination
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                               in excess of $75,000                        JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
May 25, 2022                                                           s/Noah S. Cohen
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                                                UNITED STATES     1 Filed
                                                              DISTRICT    05/25/22 Page 2 of 7
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                   South Philadelphia, Pennsylvania
Address of Plaintiff: ______________________________________________________________________________________________
                                                         New York, New York
Address of Defendant: ____________________________________________________________________________________________
                                                                   Philadelphia, Pennsylvania
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      05/25/2022
DATE: __________________________________                     ____________                              _____________                       313849
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

              Noah S. Cohen
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      05/25/2022
DATE: __________________________________                     ___________                                    __________                     313849
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
LIA ROSALSKY                               :
                                           :
                        Plaintiff,         : CIVIL ACTION NO.
                                           :
            v.                             :
                                           :
CBS BROADCASTING, INC. d/b/a CBS-3,        :
CBS PHILLY                                 : JURY TRIAL DEMAND
                                           :
                        Defendant.         :
__________________________________________:

                                           CIVIL COMPLAINT

        Plaintiff, Lia Rosalsky, by undersigned counsel, files this Civil Complaint and in support

alleges the following:

                                                 I. Jurisdiction

        1.       The jurisdiction of this Court is invoked pursuant to Section 16(b) of the Fair

Labor Standards Act of 1938, 29 U.S.C. §216(b), incorporating by reference the Equal Pay Act

of 1963, 29 U.S.C. §206(d); and 28 U.S.C. §1331, and 1343. 1

                                                 II. The Parties

        2.       Plaintiff Lia Rosalsky is a female individual who resides in South Philadelphia.

At all times relevant she was an employee of Defendant, within the meaning of the Fair Labor

Standards Act, 29 U.S.C §203(e)(1).

        3.       Defendant CBS Broadcasting, Inc. is a corporation with its principal place of

business at 51 West 52nd Street New York, NY 10019. Defendant is an “employer” within the



1
 Additionally, Ms. Rosalsky currently has a Charge of Discrimination against CBS Broadcasting, Inc., with docket
number 510-2022-00447, pending at the agency level, alleging discrimination under Title VII of the Civil Rights
Act of 1964.

                                                        1
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meaning of the FLSA, 29 U.S.C. §§216(b) and 203(d), and is engaged in interstate commerce

within the meaning of 29 U.S.C. §§203(b), 203(i), 203(j), 206(a), and 207(a).

                                            III. Factual Background

        4.       Ms. Rosalsky began her employment with Defendant in 2013, and has been

employed continuously as a per diem (“casual”) writer/producer in Philadelphia since 2018.

        5.       Defendant maintains a tiered system of producers wherein some producers are

employed as “full-time producers” while others, such as Ms. Rosalsky, are hired as “casual

producers”. This system is discriminatory against women, including but not limited to Ms.

Rosalsky, as “casual” producers are almost exclusively women 2 and are subjected to

significantly worse conditions, including but not limited to a lesser rate of pay and lack of

benefits, despite working in the same establishment for equal work on jobs requiring equal skill,

effort and responsibility, and performed under identical working conditions. On several

occasions, Ms. Rosalsky had more responsibility than other full-time producers, specifically

when working weekend shifts, when she was responsible for assigning reporters to stories,

approving, editing, and printing scripts for live newscasts.

        6.       Specifically, full-time producers receive the following benefits not available to

casual producers: (a) higher wages, better overtime and holiday rates, raises, bonuses, paid sick

and vacation leave, disability benefits, mental health support, consistent schedules, transportation

reimbursement, and myriad other benefits.

        7.       During the period from May 2019 through March 31, 2022, at which time

Defendant stopped paying her, Defendant paid Ms. Rosalsky, as a “casual producer”, at rates less

than the rates it paid “full-time producers”.


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  According to Defendant’s Position Statement they have hired male casual employees since Plaintiff went on leave
in October 2021.

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       8.      All of the per diem producers Ms. Rosalsky worked alongside were also female.

       9.      Full-time producers are both male and female.

       10.     Ms. Rosalsky made it clear that she would prefer a full-time position and applied

whenever one became available that she was made aware of. Ms. Rosalsky was told by the hiring

manager that she lacked the “passion” that the other candidates showed.

       11.     Despite an excellent performance record, including nominations for several

Emmys, Ms. Rosalsky was continually passed over for promotions to full-time position.

       12.     Ms. Rosalsky complained to various managers and union personnel regarding the

unfair and discriminatory system of using female “casual” producers to do the same work for

less money and worse working conditions as their counterpart male and other full-time

producers.

       13.     Plaintiff complained to then-President and General Manager Brandin Stewart on

both January 23, 2020 and March 31, 2021 regarding the discriminatory practice of having

casual producers being treated significantly worse than full-time producers while doing the same

work. Mr. Stewart even forwarded Ms. Rosalsky’s January 23, 2020 email to the Human

Resources Manager and the News Director. Ms. Rosalsky also complained to Human Resource

Manager Paul Marrero on September 13, 2021 regarding her supervisor’s unfair treatment

toward female casual producers.

       14.     Ms. Rosalsky has been subjected to retaliation for her complaints about unequal

pay including being scheduled for worse shifts, being singled out to work in-person during the

pandemic, and not being promoted to a full-time producer position despite being more than

qualified for the position.




                                                3
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                                            Count I
                                          Equal Pay Act

        15.     Plaintiff incorporates by reference the allegations in Paragraphs 1 through 13 as if

fully restated herein.

        16.     During the period between May 2019 and May 2022, Defendant violated the

Equal Pay Act, 29 U.S.C. §206(d), by paying wages to Ms. Rosalsky, a woman, at rates less than

the rates it pays male producers in the same establishment for equal work on jobs requiring equal

skill, effort and responsibility, and performed under the same working conditions.

        17.     Defendant’s violation of the Equal Pay Act was willful.

                                             Count II
                                            Retaliation

        18.     Plaintiff incorporates by reference the allegations in Paragraphs 1 through 15 as if

fully restated herein.

        19.     Plaintiff’s complaints to Brandin Stewart, human resources, and union personnel

about Defendant’s practice of unequal pay, benefits, and treatment is the filing of a complaint

within the meaning of the FLSA, 29 U.S.C. §215(a)(3), which incorporates by reference the

Equal Pay Act.

        20.     Defendant did not promote Ms. Rosalsky in retaliation for her complaints in

violation of 29 U.S.C. §215(a)(3).

        21.     Defendant’s violation of the FLSA/EPA was intentional and undertaken with

reckless indifference to Ms. Rosalsky’s right to not be retaliated against for complaining of EPA

violations.




                                                 4
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                                        Request for Relief

       WHEREFORE, Plaintiff respectfully requests judgment against Defendant and the

following specific relief as follows.

           a) A declaratory judgment that Defendant’s actions, policies, practices, and

               procedures complained of herein have violated Plaintiff’s right as secured to her by

               law;

           b) Defendants are to compensate, reimburse, and make Plaintiff whole for any and all

               pay and benefits she would have received had it not been for Defendants’ illegal

               actions, including but not limited to lost earnings, past and future, and the value of

               lost bonuses and health benefits;

           c) Plaintiff is to be awarded liquidated damages for Defendants’ illegal actions, as

               provided under applicable law;

           d) Plaintiff is to be awarded the costs and expenses of this action and reasonable legal

               fees as provided under applicable law;

           e) Plaintiff is to be awarded compensatory damages, as the Court deems appropriate;

           f) Plaintiff is to be awarded punitive damages, as the Court deems appropriate; and

           g) Plaintiff is to be awarded any and all other equitable and legal relief as the Court

               deems appropriate.


                                              WEIR GREENBLATT PIERCE LLP

DATE: May 25, 2022                            s/Noah Cohen
                                              Noah Cohen, Esquire (PA ID 313849)
                                              ncohen@wgpllp.com
                                              1339 Chestnut Street, Suite 500
                                              Philadelphia, Pennsylvania 19107
                                              Tel: 215-665-8181
                                              Attorney for Plaintiff Lia Rosalsky

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